           Case 1:16-cr-00153-KD-N Document 241 Filed 01/12/18 Page 1 of 11



                         UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                                      Case No.: 1:16-cr-00153-CG-N
 v.

 DAVID J. JIMENEZ,

        Defendant.
 _____________________________________/

   POSITION OF THE DEFENDANT WITH RESPECT TO SENTENCING FACTORS

           Defendant David J. Jimenez, by and through undersigned counsel, pursuant to the Court’s

Order [ECF 228] and Local Rule of Criminal Procedure 32(b)(4) files his position on the revised

Presentence Investigation Report (the “PSR”) [ECF 239] filed by the United States Probation

Office (the “Probation Office”) on December 18, 2017. Specifically, Mr. Jimenez disagrees with

the Probation Office’s offense level computations in paragraphs 17, 19, and 26 of the PSR, and

states:

      I.        Background

           On October 13, 2017, Mr. Jimenez was convicted for (i) conspiracy to commit fraud and

misuse of visas, permits, and other documents (18 U.S.C. § 1546) in violation of 18 U.S.C. § 371;

(ii) conspiracy to commit money laundering in violation 18 U.S.C. § 1956(h); and (iii) money

laundering in violation of 18 U.S.C. § 1956(a)(I)(A)(i).

           The burden to establish a disputed fact in the PSR is on the Government. United States v.

Liss, 265 F.3d 1220, 1230 (11th Cir. 2001); L.R.Crim.Proc. 32(b)(4). Contrary to the Probation

Office’s conclusion, the Government failed to meet its burden of establishing that: (i) any

trafficked documents as defined by statute were ever involved in his conviction for

misrepresentation (see PSR, ¶ 17); (ii) more than 24 documents were trafficked (see PSR, ¶ 17);



398641-000001
          Case 1:16-cr-00153-KD-N Document 241 Filed 01/12/18 Page 2 of 11



and (ii) that Mr. Jimenez’s conviction for money laundering involved “sophisticated” laundering

(see PSR, ¶ 19). As such, Mr. Jimenez’s offense level computation should be reduced by at least

8 levels (reduction of 6 levels since no “documents” were trafficked in connection with his

immigration fraud conviction and a reduction of 2 levels for conviction of a non-sophisticated

money laundering scheme).


II.      A.        § 2L2.1(b) does not apply since no immigration identification “documents”

                   were trafficked or involved

         Section 2L2.1 of the of the United States Sentencing Guidelines (“Guidelines”) provides

that the base offense level for a conspiracy to violate 18 U.S.C. §1546 (immigration fraud) is 11.

In paragraph 17 of the PSR, the Probation Office determined that Mr. Jimenez’s immigration

fraud conviction involved the use of 25-99 documents and, thus, added six levels to his base

offense level pursuant to § 2L2.1(b). However, it is our position that, as a matter of law, this

provision does not apply based upon the applicable definition of documents.


         § 2L2.1(a) defines three separate types of conduct for which it applies:

         Trafficking in a Document Relating to Naturalization, Citizenship, or Legal
         Resident Status, or a United States Passport; False Statement in Respect to the
         Citizenship or Immigration Status of Another; Fraudulent Marriage to Assist
         Alien to Evade Immigration Law

The first conduct is trafficking in documents related to immigration status; the second refers to

false statements about the status of another; and, the third refers to aiding someone to engage in a

sham marriage. This section provides for a base level of 11. The Probation office in paragraph 17

of the PSR asserts that there is an increase from this base level pursuant to §2L2.1(b)(2)(B)

because “the offense involved between 25 and 99 documents, pursuant to U.S.S.G.

§2L2.1(b)(2)(B). Therefore, the base offense level in this case is 17.” This is error.


171019 - Sentencing Memorandum                    2EAST\147728432.3
398641-000001
          Case 1:16-cr-00153-KD-N Document 241 Filed 01/12/18 Page 3 of 11



         B.        The definition of documents under §2L2.1(b).

         The plain statutory language universally defines the relevant “documents” which are

involved in the trafficking and thus merit the application of § 2L2.1(b)(2) in a way which

precludes its application in this case. And the case law wholly supports it. To define the scope of

the term of art “documents” which are trafficked we naturally turn to language in the statute of

conviction to which § 2L2.1 applies in this case. 18 USC § 1546(a) is our logical source:

         any immigrant or nonimmigrant visa, permit, border crossing card, alien
         registration receipt card, or other document prescribed by statute or regulation for
         entry into or as evidence of authorized stay or employment or utters, uses,
         attempts to use, possesses, obtains, accepts, or receives any such visa, permit,
         border crossing card, alien registration receipt card, or other document
         prescribed by statute or regulation for entry into or as evidence of authorized
         stay or employment in the United States. (Emphasis added).

         “In determining the meaning of the statute, we look not only to the particular statutory

language, but to the design of the statute as a whole and to its object and policy” Dada v.

Mukasey, 128 S.Ct. 2307, 2317 (U.S. 2008)(quoting Crandon v. United States, 494 U.S. 152,

158, (1990)); United States v. Heirs of Boisdore, 8 How. 113, 122, 12 L.Ed. 1009 (1850) (“[W]e

must not be guided by a single sentence or member of a sentence, but look to the provisions of

the whole law, and to its object and policy”).“[W]hen a statute sets out a series of specific items

ending with a general term, that general term is confined to covering subjects comparable to the

specifics it follows”). L.L.C. v. Mattel, Inc., 128 S. Ct. 1396, 1404 (2008); Wash. State Dep’t of

Soc. & Health Servs. v. Guardianship Estate of Keffeler, 537 U.S. 371, 383 (2003) (citation

omitted)).

          Here the statute uses specific terms; i.e., “visa,” “border crossing card,” “alien

registration receipt card,” followed by the more general phrase “other document prescribed by

statute or regulation for entry into or as evidence of authorized stay or employment in the United


171019 - Sentencing Memorandum                     3EAST\147728432.3
398641-000001
          Case 1:16-cr-00153-KD-N Document 241 Filed 01/12/18 Page 4 of 11



States.” When applying the canons of construction to determine what types of “documents

2L2.1(b) is referring to it becomes clear that the types of documents it is referring to are exactly

as described- the actual documents which prove immigration or citizenship status, legal ability to

work, authority to enter the US, and/or identity.1



         C.        The defendant did not traffic in any types of immigration or identity
                   documents nor were any involved

         Neither the evidence presented nor the PSR provide any indication that any documents as

defined in the statute were in any way involved in this case much less trafficked as the guideline

envisions. Jimenez was convicted of conspiring to commit misrepresentations on I-140 petitions

filed by US businesses. As the Expert witness testified, an approved petition letter grants no

immigration status, authorization to work, or right to enter the United States whatsoever. It

cannot be used for identification or presented to an immigration or other law enforcement officer

for any purpose. Instead, if approved, the result is a very limited determination of one agency,

USCIS, that the petitioning entity qualifies as a multinational company and that its foreign

employee qualifies as an executive under the statute.

         If the foreign executive wishes to come to the United States and be employed, he must go

through the formal process of applying and being approved for an immigration visa by the

Department of State at the US embassy overseas. As the foreign national has no legal standing in

the I-140 petition process, the company has no legal standing in the visa application process.



1
  See also United States v. Kuku, 129 F.3d 1435, 1440 (11th Cir. 1997)(“Where the primary purpose of the offense
involved the unlawful production, transfer, possession, or use of identification documents for the purpose of
violating, or assisting another to violate, the laws relating to naturalization, citizenship, or legal resident status, apply
§ 2L2.1”); United States v Castellanos, 165 F3d 1129 (7th Cir, 1999 (counterfeit resident alien cards and Social
Security cards, even though cards had not been completed); United States v Singh, 335 F3d 1321 (11th Cir. 2003)
(domestic driver's licenses, military identification cards and U.S. government identification cards as "documents" for
purposes of USSG § 2L2.1(b)(2)")1

171019 - Sentencing Memorandum                               4EAST\147728432.3
398641-000001
           Case 1:16-cr-00153-KD-N Document 241 Filed 01/12/18 Page 5 of 11



Presenting the approval letter in the application to the embassy is simply one of many

qualifications which the foreign national must meet in order to be granted an actual entry

document; i.e., the immigrant visa. Then if the visa is granted, the person then must apply for

admission to enter the US at the border or airport by another agency, Customs and Border

Protection.

           In this the statutory schema is clear: the misrepresentations were made seeking a

determination in favor of the company while the visa which is the actual immigration identity

and entry document must be applied for by the foreigner overseas.

           And there was no evidence or testimony that the defendant was involved with, much less

trafficked in any status, entry, or identification documents whatsoever2 Therefore, if the court

finds that §2L2.1(b) does not apply, the court should reduce the enhancement by 6 levels.


    III.      The Probation Office Erroneously Determined that Mr. Jimenez’s Visa Fraud
              Offense Involved More than 24 Documents (Paragraph 17 in PSR).

           Section 2L2.1 of the Guidelines provides that the base offense level for a conspiracy to

violate 18 U.S.C. §1546 (immigration fraud) is 11. USSG at § 2L2.1(a). The Guidelines further

provide that an offense involving 6-24 documents increases the base offense level by 3 and that an

offense involving 25-99 documents increases the base offense level by 6. USSG at §

2L2.1(b)(2)(A).3




2
  Compare United States v. Christ, 513 F.3d 762, 766 (7th Cir. 2008) with the present case (Receiving bribes in
order to secure the approval of immigrant visas to receive visas without being interviewed in the former while there
is no evidence that the defendant was involved in any way in any applications for a visa much less trafficked in them
or manufactured, forged, sold, acquired by bribery, or possessed machines or blank documents for making them in
the present case.)
3
  The application note 2 to the section provides that “[w]here it is established that multiple documents are part of a set
of documents intended for use by a single person, treat the set as one document.”

171019 - Sentencing Memorandum                              5EAST\147728432.3
398641-000001
          Case 1:16-cr-00153-KD-N Document 241 Filed 01/12/18 Page 6 of 11



         In paragraph 17 of the PSR, the Probation Office determined that Mr. Jimenez’s

immigration fraud conviction involved the use of 25-99 documents and, thus, added six levels to

his base offense level. However, the Government failed to establish at Mr. Jimenez’s trial that

more than 24 documents were involved in Mr. Jimenez’s immigration fraud conviction. During

Mr. Jimenez’s trial, the Government introduced samples of documents from 51 different petitions

that were allegedly filed with USCIS by Mr. Jimenez, his colleagues, and others into evidence.

However, the Government only presented testimony from approximately 17, but certainly less than

25, witnesses, U.S.-based petitioners, that asserted that the petition and associated exhibits filed

on their behalf were false or fraudulent. Accordingly, the Government only presented sufficient

evidence to establish that approximately 17 documents were involved in Mr. Jimenez’s visa fraud

conspiracy.

         If the Government believes that Mr. Jimenez’s deserves a 6 level enhancement because his

immigration fraud conviction involved 25 or more documents, the Government must show that it

established, at Mr. Jimenez’s trial, that 25 or more of the petitions that Mr. Jimenez caused to be

filed were fraudulent.           However, the Government cannot meet this burden because it only

introduced testimony from 17 witnesses as to the legitimacy of the petitions Mr. Jimenez caused

to file on the petitioners’ behalf. Even assuming that all 17 of the Government’s petitioner-

witnesses established that the petitions filed on their behalf were fraudulent, and based upon the

testimony at trial, the Government cannot make the conclusory leap that all 51 petitions that it

introduced samples of at trial were fraudulent. Taken to its logical conclusion, the Government’s

theory would allow it to introduce testimony from a single petitioner-witness to establish that his

or her petition was fraudulently filed and use that fraudulently filed petition to impute a fraudulent




171019 - Sentencing Memorandum                      6EAST\147728432.3
398641-000001
          Case 1:16-cr-00153-KD-N Document 241 Filed 01/12/18 Page 7 of 11



taint on all 51 of the petitions (filed on behalf of other, non-testifying petitioners). This leap is

inequitable and unconscionable.

          Accordingly, the Government did not meet its burden of establishing that more than 24

documents were used in connection with Mr. Jimenez’s immigration fraud conviction , the Court

should limit any enhancement based on the number of documents involved in Mr. Jimenez’s

activity to 3 and compute Mr. Jimenez’s base offense level for violation of 18 U.S.C. § 1546 to 14

(11 for violation of 18 U.S.C. §1546 plus a 3 level enhancement).

    IV.       The Probation Office Erroneously Determined that Mr. Jimenez’s Money
              Laundering Offense “Involved Sophisticated Laundering”

          In the PSR, the Probation Office determined that Mr. Jimenez’s money laundering offense

“involved sophisticated laundering” and, thus, added a 2 level enhancement to his offense level.

See PSR, ¶19 and USSG §2S1.1(b)(2)(C).

          The Guidelines define “sophisticated laundering” to be money laundering that “typically

involves the use of-(i) fictitious entities; (ii) shell corporations; (iii) two or more levels (i.e.

layering) of transactions, transportation, transfers, or transmissions, involving criminally derived

funds that were intended to appear legitimate or (iv) offshore financial accounts.” USSG §2S1.1,

note 5(A).      However, the Guidelines forbid the application of the sophisticated laundering

enhancement if “the conduct that forms the basis for [the] enhancement under the guideline

applicable to [money laundering] is the only conduct that forms the basis for” the enhancement.

USSG §2S1.1 note 5(B).

          Here, the only potential applicable “sophisticated laundering” hallmark of Mr. Jimenez’s

money laundering conviction is that Mr. Jimenez’s conduct involved the use of offshore financial

accounts. Mr. Jimenez’s money laundering convictions stem from Counts 8 and 9 in the Second

Superseding Indictment (the “Indictment”) [ECF 75]. In those counts, the Government charged


171019 - Sentencing Memorandum                   7EAST\147728432.3
398641-000001
          Case 1:16-cr-00153-KD-N Document 241 Filed 01/12/18 Page 8 of 11



that Mr. Jimenez’s conduct involved financial transactions affecting foreign commerce, transfer

of funds from a place outside of the United States to places within the United States, Mr. Jimenez’s

receipt of at least $3.7 million in foreign wire transfers as compensation for his conduct, the use

of internationally-wired funds to pay United States business owners, international wire transfers

to foreign beneficiaries’ bank accounts in the United States. See Indictment, ¶¶ 44-52. In sum,

Mr. Jimenez was indicted for conduct that entailed the use of offshore accounts and international

transactions. Therefore, the Guidelines proscribe the application of the “sophisticated laundering”

enhancement to Mr. Jimenez’s offense level computation.              Applying the “sophisticated

laundering” enhancement to Mr. Jimenez’s sentence is tantamount to double counting his use of

offshore accounts in both his conviction and the enhancement. The Court should reject the

Probation Office’s unsubstantiated conclusion that the enhancement is applicable.

    V.        Based on the Probation Office’s Errors Discussed Above, the Probation Office
              Erroneously Calculated the Total Offense Level (Paragraph 26)

    The Probation Office calculated Mr. Jimenez’s total offense level to be 25. However, in

calculating Mr. Jimenez’s total offense level, as discussed above, the Probation Office erroneously:

(i) added a 6 level enhancement to Mr. Jimenez’s immigration fraud conviction since it did not

prove that more than 25 trafficked documents were involved in the offense; (ii) did not even prove

that the enhancement should have been limited to 3 levels; and (ii) determined that Mr. Jimenez

engaged in a “sophisticated” money laundering scheme and, thus, added a 2 level enhancement.

Accordingly, Mr. Jimenez’s total offense level should be limited to 17 (11 for conspiracy to

commit immigration fraud, plus a 2 level enhancement for the money laundering conviction, plus

a 4 level enhancement for Mr. Jimenez’s aggravating role).

    VI.       Other Factors to Consider in Sentencing




171019 - Sentencing Memorandum                   8EAST\147728432.3
398641-000001
          Case 1:16-cr-00153-KD-N Document 241 Filed 01/12/18 Page 9 of 11



         In addition to reducing Mr. Jimenez’s offense level as discussed above, Mr. Jimenez

requests that the Court consider the following factors when sentencing Mr. Jimenez:

    •    There are no victims of Mr. Jimenez’s crimes and he does not owe any restitution. See

         PSR, ¶ 12.

    •    Mr. Jimenez has spent much of his life working with and donating to religious and

         charitable organizations. Specifically, Mr. Jimenez has donated to and worked with

         organizations assisting battered women and children and sending food to foreign countries.

         PSR, ¶ 33.

    •    Mr. Jimenez has three young children and is the sole source financial support for them and

         his wife PSR, ¶ 34.

         A consistent factor throughout David Jimenez’s offense conduct is decision making

adversely affected by substance abuse, specifically the abuse of alcohol. PSR, ¶ 40. Between 2010

and 2016, Mr. Jimenez used alcohol regularly. Recently, the stress of the criminal case caused

Mr. Jimenez to increase his reliance on alcohol as a coping mechanism. Mr. Jimenez sought and

received alcohol abuse counseling by Dr. William I. Dorfman who recommends that Mr. Jimenez

obtain inpatient substance-abuse treatment. A copy of Dr. Dorfman’s analysis will be submitted

to the Court and the Government.

         The Federal Bureau of Prisons has an intensive residential treatment program, known as

RDAP. As a participant in this program, offenders participate in half-day programming and half-

day work, school, or vocational activities. Research by the Bureau and National Institute on Drug

Abuse has demonstrated that RDAP participants are significantly less likely to recidivate and less

likely to relapse to substance use than non-participants. Other studies also suggest that the RDAP

can make a significant difference following release from custody and return to the community.



171019 - Sentencing Memorandum                   9EAST\147728432.3
398641-000001
         Case 1:16-cr-00153-KD-N Document 241 Filed 01/12/18 Page 10 of 11



         Dr. Dorfman has informed David Jimenez that he would benefit from continued alcohol

counseling through participation in RDAP. Although this Court cannot order the Federal Bureau

of Prisons to admit Mr. Jimenez to RDAP, this Court can recommend admission to RDAP.

Therefore, undersigned counsel respectfully requests that this Court include an RDAP

recommendation when pronouncing the sentence in this case.

                                             Conclusion

         For the reasons cited herein, a low-end guideline sentence satisfies the policies set forth in

18 U.S.C. § 3553, while crediting the absence of any real risk of future criminal conduct given

David Jimenez’s personal characteristics. Therefore, in the absence of a motion for reduction of

sentence under USSG §5k1.1, undersigned counsel respectfully requests that this Court impose a

sentence of incarceration for a period of 24 months, with judicial recommendations for: (a) a prison

camp near Miami, Florida; and (b) access to RDAP alcohol counseling.

         As noted in the PSR, David Jimenez does not owe any restitution and his three young

children are entirely financially dependent on Mr. Jimenez, who, after being imprisoned, will have

virtually no ability to provide for them. Therefore, undersigned counsel respectfully requests that

the Court waive imposition of a fine. See USSG § 5E1.2(a) and (e).

         The undersigned certifies that he has conferred with opposing counsel and the Probation

Office in a good faith effort to resolve any disputed matters

         Dated: January12th, 2018               Respectfully submitted,

                                                MATTHEW WEBER, ESQ.

                                                By      /s/Matthew Weber
                                                        Matthew Weber
                                                        Mateo502@hotmail.com
                                                        Attorney for the Defendant
                                                        66 W Flagler St., Ste 500
                                                        Miami, Florida 33130


171019 - Sentencing Memorandum                    10EAST\147728432.3
398641-000001
         Case 1:16-cr-00153-KD-N Document 241 Filed 01/12/18 Page 11 of 11



                                                         305-409-9312

                                                 BRISKMAN & BINION, P.C.

                                                 By      /s/ Donald M. Briskman
                                                         Donald M. Briskman
                                                         dbriskman@briskman-binion.com
                                                         Attorney for Defendant
                                                         Briskman & Binion, P.C.
                                                         205 Church St.
                                                         Mobile, Alabama 36602
                                                         251.433.7600




                                    CERTIFICATE OF SERVICE

         I hereby certify that I have on this 12th day of January 2018, served a copy of the foregoing on

Donna B. Dobbins, Esq. and Chris Bodner, Esq., 63 Royal Street, Suite 600, Mobile, AL 36602, via

electronic filing.

                                                 By:     /s/ Matthew Weber
                                                         Matthew Weber




171019 - Sentencing Memorandum                     11EAST\147728432.3
398641-000001
